         Case 4:10-cr-00228-LPR Document 103 Filed 05/28/13 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                    NO. 4:10CR00228-03 JLH

RAY JOHNSON                                                                      DEFENDANT

                                             ORDER

       Pending before the Court is the government’s Motion for Revocation of defendant Ray

Johnson’s supervised release. Document #102. The government requested that a warrant be issued

for defendant’s arrest. The Court has determined that a summons will be appropriate for this

hearing, therefore, the request for warrant is denied.

       IT IS HEREBY ORDERED that a hearing on the government’s motion to revoke is

scheduled to begin on TUESDAY, JUNE 11, 2013, at 2:30 P.M., in Courtroom #4-D, Richard

Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas, to

show cause why defendant’s supervised release should not be revoked.

       The Clerk of Court is directed to issue a summons for defendant RAY JOHNSON, and

deliver to the United States Marshal for service.

       Assistant Federal Public Defender Kim Driggers is hereby appointed to represent defendant

during revocation proceedings.

       IT IS SO ORDERED this 28th day of May, 2013.



                                                         _________________________________
                                                         J. LEON HOLMES
                                                         UNITED STATES DISTRICT JUDGE
